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                                                                                                                                  Rachel SYhester
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   Wle re am r?         Home      News;    Tech & We b                                                                                                  II Times o,line .::>1(Him'
  FOrom 1'Irne6 On line                                                                                                    wL"""'
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  Sony boss reveals plans for PlayStation                                                                            TOIlAY
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  N IIilE'I Kendall, TechnologyEdltor
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  The rimes W3S tho only UK


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  pUblication at Gamescom in
  Cologne last week 10 speak
  with Sony Computor
  Entertainment boss KazllO
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  1<az" Hirai. We mel up w~h him
  the morning after he had taken                                                                                           -
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  the stage to announce the new
  PlaySta1ion 3 Slim, and half an
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  hour befora he waS due to fty
  back to Tokyo.
                                                                                UlleSIIX'S~ on the blog

                                                                                  On"",!! a car?There'1l an
                                                                                                                                  Log onto Ea Share;Org
  Portions of this intONew haw
                                                                                  appforthatl                                     andsee what you can do.
                                                                                  Modem warfa re 2 the
  appeared in other stories from
  Gamescom (seebebN/efI), but         Ka2IJoHlfal
                                                                                  Int(!6h)po<;t                          One environment On! simple way to tar! for it-
                                                                                  0,,011 breaks news of
  we thought ~ hold So many
                                                                                  Modem warfare 3
  interesting things 10 say that
  our chat deseMld reproducing in full. So hem it is. Our questions
                                                                                                                                  f) 'Earth Share
  am in bold, w~h his ansW<l1S bcnc:llh .

  The obYious questl on Is, w h y a n ew PlaySlalion 3 n ow?                                                          I'OCUSZONH
  Well. it's closing In on our third anniwlSary in Nowmber in
  America and Japan, and we feR it was the right tim e to kind of                                                      "\101'(' "CI)()I'ts:
  pass on the benelils of the fact that      wew
                                              been able to reOJee the                                                  E. ,)~ .I·' ..• re!"'!g"'tImTra-.l'
  number of componenls and their sizes .                                                                               Fall>!     '''-'Ii           -
                                                                                                                        :til   ..ermor
  And we wanted to pass the cost sa ...ngs on 10 our consumers , in             Call of Duty:
  the new price point as well . We also klR it was the righltime in             Modern WlUi":lI~:!
  terms of the great line-up of sottware t~les we haw coming ollt.
                                                                                reviewed                                                                00
                                        We wanted to make sure we had a                                                Need t) Know                      Mappmg EIIJSIne5S
  It ''I "",,"T~.O I.l NKS              great line-up of soltware, a new        31)OOllS MOIII I,!!
                                                                                                                       Ek.os lness Tra.e                 The Future of EllE'rgy
   Sonv must startplayng on             form faclor and a new pricing poinl                                            WnterSport!l                      More reporlll
   the same CQnsOle                     as well.
   Sonyrelgnltes conso le
                                  Is lIle new ma ch ine really an
   battle WIth PS3
                                  admission lIlal sa le s o f lIl e
                                                                                                                      Tilllc.s Mubilc
   SonYII' new P\8\Staton Is                                                                                          Get Times news , business
                                  ex isting PS 3 ha ve b een                                                          and spoil on )'Our mob ile.
   smaller and lighter
                                  d isa ppoinling ?                                                                   Tel<lTimn to 87700
                                  If you look at the growth of the
                                  Installed base . it Is slower than the
  PS2 was but ~'s pretty much on track with the growth that we had                                                    Encounters
  with the original PlayStation .                                                                                     DatiJlg
                                                                                Coming soon: 3Don                     We'd low 10 f OO you
  We also always look at our business as being a l().year lifecycle                                                   someone specia l
                                                                                yom ' mobile phone
  for all of our platforms . R's kind of difficult to say whether a platform
  h..... been successful or not going into our third anni\O!rsary . lhe
  filth anniwrsary and beyond is when we really start to say hoWs
                                                                                                                      Compare
  our trajectory lOOking?                                                                                             l)I'oadband deals
                                                                                XIIOX 360 N EW t· .~'1'LRI:'S         Sa~ on b<oadband , TV &

  In retrospect, do you w i sh you had packed l ess inlo lIle PS3 ?                                                   phone dea ls
  Had we done less. I think W(!'d haw gotten into a situation where.              I
  " specially..wh the way technology r'3mp$ up. it would haw been
                                                                                                                      Find a Lawycl'
  wry difficuR for us to embark on a to-year life cycle with this                                                     Cut your legal OOSI$
  particular console .

  I think that because of all the things we were able to pack into the
  platform - Blu-ray's a great example - we were able to make sure
                                                                                                 --~
                                                                                                                      RnA TEl> REI'OR'"

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 we could take ad'.enlage of some of tile !Jeat se~ces we are
 otrellng .

  Thos. things are ..., possible lwe dido' plot that kind of power iroto
                                                                                                     ...          - - _ . -- . -
                                                                                                                  Fu tu f'C o f Ene l"gy
                                                                                                                  The energycrl, '-                   10-.. .-.. .     00
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  the plottonn .                                                               Xbox rea lly w{)I'k?
                                                                                                                  Crossword Clllh
  A marketing person once told me Itlatltle most dI fficult thing                                                 Sign up tlday or 1Iy0ne of
  to leU I, ill Swiss Army pe ...kn ife, becilulelt doelelleryltling.                                             our fre<!! demo croelwol"da
  Do you Itllnk you madl! Itle same mistake wiltl the PS3?                     TWlrrml.
  Righi. That was more of a marketing issue tha ... anythi ... g else.
  Whe ... I came back to Japan in Nowmber2006, one of the firsl
                                                                                                                  F I't.'C CV Revie w
  things I did ViliS to go oul with a wry clear message that said the
                                                                                                                  Se ll )O ursOllfi He", )Ou r CV
  PS31s ft~t and foremost a \ideo game co ... sole. before we talk                                                re>iewed by e~rts
  about any of the oIhOlr 9"",1 things it ca ... do. I think thOl PS3 hood a
  bit of an identity protllem.                                                 Foll owTee h & Web
                                                                                                                  1'01'1 11.A K Ji'I:.\ R('m ;SON TIMES ONI.JN E
  We l!x:U$ed thefafole in the first year and ill half Of so on talking        SI.Y.IGIlf.O KY OI\OOIITS
  about the great games and also we sent that m.ssage to all cI o~                                                2010 movies Ibook_ Ic hess I crossv.ords I
  de'.eIopmerl. parlnelS .
                                                                                                                  fantasy football I _ hiDn I formula 1 I
  I think we'w dona a pretty good job 01 doing that. which is why                                                 h o r oscopes I Michael Jackson I need to
  _\0 Qat lhis gra31 raft of softw3n1 coming illlo 1i"Ws hDliooy                                                  know I obituaries I reclpes I redundancy
  season . Onc. we\e done lhat, then we can talc aboiA all the olhef
  things that it can do in terms oflhe non-game \ideo content,
                                                                                                                  calculator 1science I sudoku I swine fl u I
  whether it's lhe '-'cleo dali"wry se~ce or the C.lchup 1V seNice or                                             tw itter 1 "~ tv. .-.lty" ..IcI. Iwine Iwinters un
  lhe mcMe rental ser>ke. Sut nona of that makes much sense
  unless we ca ... say Hrsl and foremost it's • great ideo game                                                   Shor1c UIS to help yo;u hId II-8C\iOnI and arliees
  cor"l$ole.

  It's_II known that Sony lose, money on ellery PS3 it se ll s.                San ta &"Wots up on
  Wlll lh.1t rill b. Itle cue with the n.w m.chl .... ?                        high -h .- ch toys
  If youre just talking a/:lod the hardware alone , the quick answer is
  yes . That makes gGOd headlines . bull don' actually know that




                                                                                                                  -"
  that .. the true moIure oftlMo business th.1t _ ... aN In, wMther it's
  PlaySt.1lion, )Ibolf or the Wi;. I think the better indic.tOf is to look     !lorv ~:XI'I.AINtm                 "'~
  .t the buslnass as a whole platform , to ask: ara you pro~able in                                               Mew AudI AS 2.0 TOt
  terms oltho h3rtt.Yi>ro. software and poriphomls . And lho 3nSWIlr I
  o th" question is yes on a glOSS profit ielel sinee the last fiscal
  year.
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                                                                                                                  0 ... contract hire lot
                                                                                                                  £359 99 ~ua VAT pm
  Is P S3 the m.1chine to turn Sony around ?
  II's not JUSI the PlaySI8t1o ... business. but overall . ~'s some of lhe                                        Virgin Cill Insurance
  olher businesses that I"m managing now althe Networked                                                          12 mo~ I'or the price 01
                                                                                                                  11 .nd 0 5% dileount
  Producb and SeNee Group level, buI it's also a combination of
                                                                                                                  arrer ends 31n 1.og
  the coslleductions that we're rrr:r.Y emballdng on on a corporate
  level. lneluding tile Bra-.ia business , I think all thestt things need to
  come together for In to be seen and pan;eived as haWIg turned a
  comer. k"s not JU$t one business . Irs not jlnt the PlayStation
                                                                               AI J you I K"t..-d t o             Aflply for n r Plnane.?
                                                                               know abou t HDTV                   Check)OUr ftee ~rian
  bus .... ss, it's not just the 1V buslnas. , it's a combination of al 01                                        aedtt re~ before
                                                                               ConfuIed by !he j.rgo ... ? 0Jr
  the things thai we"'e inwNed in.

  Will Pl ayStation th inking infiltrate the rest of Sony?
                                                                               guide I. here to help
                                                                                                                  ,"""'"
  This is one of the things lhat Howard has tasked myself aod
  Kunimasa Suzuki to do al NPSG, wher. the majority of the sales               IlI'SI 01' GOOOI. II               Qe.1l cal insur anc.
  and \isibllity , if you will. comes worn the PlayStation business .          S"I"K y.f."r V Il;W                deOl'" onllna
  Since I manage both there's o~ously going to be a bit 01 a rubcrr                                               Ca r ~urance
  tom how I run the PlayStatlon busines S. and hoW thafs going to
  Imp'ct how Kuni'll going to be running the Vaio business . and
  becaU$e of the cross-pollination that I wa.-ed I've .sked Kuni to
  become second In commilnd at SCE . So there's a lot 0 1 cross·
  pollination going on at management level.
                                                                               'Nelfd and wondel1llllmages
                                                                               ftom Googte Street Yew
  I certainly warted 10 meke sure thai the kind (/ corporate culture,
                                                                               Slide Show
  the "mosphere I you -.vii, the kind of Inbrmation sharing, the
  openness that I lhink I've been able to Impart on SCE, I wanllo
  make sure lhal thai culture extends 10 NPSG. and by extension if
  ~'s a cuKura that breeds success, then ~ shoUld naturally extend             TI:CIIJliOLOGY
  Into other paris of Sony as well.
                                                                               1) 1All 'n l illgS I li~ il.nl.                      1·11 MM'
  Neve rtheless, as a company Ih l a lso owns. film studio and
  a mu sic la be l, the digital age mu st preaen l at much contlict            ktJClea trom 0 llr alsle r aile:
  n opp ortu ... lty? How an Son y recon ci l e ita two r olel?                  !mol S!tIIel WIh IWlJ 1'0,
  There's .tways been that differenee 01 opinion Of perspective. and             Nearly. OJ'fler of NC/?s
  that's bound to happen. because on tile one side yoUre coming                  Mlr1<etClp
  ffom I ollwaro . fi"om tho ottlC>r sido you'ro coming ffom h3rdwl>ro.          New '!b,1I -1m", F.ee:.:ea
                                                                                 ~lOnPllllnlor
  ThlKe Is always going 10 be that. blJ: I think It depends on the
  management of the organisations to really hamass lhat energy                   ""na ll""l1....1
                                                                                 ...hl voeo How Mucn 00 I
  .nd corflct in the riglt way or to elfac9lblte the situation. rd ~ke
  to think thai becaU$e we at SCE are one oI tha very lew
                                                                                 love T.~orSWtt?       cr.kl-
                                                                                 That, Kan-,el)
  companies within Ihe Sony group. probably t he only one. that
  deals in both hardware and software under ona roof, we haw that
  conflict buill In.

  It's part of our culture to manage that conflict and to manage ~ in a

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  right way, so that it becomes a positil.e rather than something that
  takes down the organisation. I'd like to think the folks at SCE have
  a lot of experience and knowledge about striking a balance
  between the two and hopefully we can impart that across the wider
  Sony group as well. Sony needs to get to the point where we're
  not talking about hardware or software, but about a total consumer
  experience. We don't talk about hardware and software at SCE.
  We talk about how we can bring the best consumer experience
  under the PlayStation umbrella. Nobody questions whether we're a
  hardware company or a software company, and that's the way I
  think Sony needs to mol.e as well.

  What are your own personal criteria for a successful
  gadget?
  Ease of use. One of the standards is how many times I have to
  look at a manual. I look too for industrial form factor and design.
  Does it look nice and does it function very well?

  Talking of form and design, I see you've ditched the Spider-
  man typeface from the new PlayStation ...
  We wanted to make sure that we set a new direction for the PS3.
  The PS logo with the capital P and small S has always been our
  logo, has always been synonymous with video games and I
  wanted to reset the thinking. Also internally I wanted to send the
  message internally that we are resetting the thinking, going back
  to our roots. What better way to do it than by resetting the logo?
  That puts the entire organisation on its toes. On a practical lel.el,
  when you have PlayStation 3 spelt out, the aspect ratio was such
  that if you wanted it on a billboard it became tiny. It didn't work in
  terms of visibility.

  In the meantime, Nintendo has done more to popularise
  video gaming than any other company.
  It's a very astute observation, but it doesnt take in history. The
  most successful console is still the PS2 and it's still going strong.
  I think that's the console that really broke the barrier from video
  games being just for video gamers into more of a mass market on
  a global basis. Nintendo's obviously done a great job in following
  that mass acceptance.

  But there is a new constituency of video game players. How
  will you make sure they come to the PS3?
  First and foremost it needs to be done through compelling video
  game titles. That is a two-pronged strategy where we always need
  to make sure that the platform is perceived as a videogames
  platform. Once you increase the installed base you cannot say,
  OK we're not going to do any more games for the hardcore gamer.
  You lose them, you lose the whole foundation. A great example is
  games like God of War. Those games we will continue to do.

  Titles like Singstar and Buzz are great examples of family type
  games. Number 2, I think that the accessibility of the PS Network
  and all the different content that we offer and will bring in the future
  - people who realise that it's a great console to have for all the
  other things it offers. It's a great entrance into the PS3 for some
  people and once you've got one, why not try video games as well?
  I think that's more of a long-term proposition. But since we're on a
  10-year lifecycle, it's the sort of thing we'll be looking at in a couple
  of years.

  And what about the "magic wand" motion control system
  you have shown glimpses of here and at E3? When will we
  see that in stores?
  We are slating it for spring of next year. One of the things is that
  we just dont want to put out the controller. We need a great
  software that supports the controller at launch. It's something that
  we've been working on for the longest time.

  Finally, the PSP Go is coming in October, and has no drive
  for UMD disks. Do you think physical media such as DVDs
  and even Blu-ray have a limited time left?
  No. Perhaps we can sit down three years from now and have a
  beer, or two or ten, while we wait to download 40 gigabytes of data
  for a full ps3 game. That's still going to take a lot of time. We're in
  ol.er 100 countries and there are areas where consumers still don't
  have access to the type of broadband that we have. The death of
  physical media is a l.ery nice conclusion, that seems to be nice to
  say, but it's not something we're going to see soon. We are
  committed to the PSP 3000 and the UMD business. A lot of
  people like to speculate that we're getting out of that business, but
  nothing could be further from the truth. We're not going to deprive
  consumers in all those other countries .



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    Daniel Krug w rot..:
    I\o:! pla"ed games for some 25 .,ears now and 1m glad to see that
    Sonywill con inue to support the mo re mature gam ing communi:y
    a rd nO! s implybend to !he famityorinted money making trend In,
    the record, I do aprreciate casua l games and thats indeed a
    mar'r<etno·one can turn~ !heir backs Ic), bo..t r ll keep plajlng God 01
    INar like gam~ as long as they keep be ing made.
    0::1Obo!f 6, 2009 1 25 FM SST
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    W1at ttle wo rl(l neeCl IS...,I flrlctionall:ywlth PS4 grapnlcs .... now
    wii are ta lidng a beaslof a prodLXtI
    ~'6,200910:47FMSST
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    Nell Roach wrOle:
    I own a Wl i, APS3 and a 360 . My 360 and W i gathe rd USI wllilstml
    PS3 Is used .""rydal', ll na! lor gam ing then lor strea mlng ";dec
    conte nt from my home seM:! ' to myPS3.
    Se;lte!Tber8 2009 11UAMBST
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    Liam B w rotll:
    ninlando we re elmost finls hedl the Wi too k them back from the
    !)rink. it really is a nice bll of kit, personallyi haoe e PS3 . i think they
    e re ewesome l qu ite lite r.lllylhe only piece 01 kil!lO u ne-ed on !lOll
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    Featuring PSN.
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      ~mc Podoa~:' could !hI!! b& kaenal 's BC3S0n?
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